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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 In re Application of NORDEX ENERGY
 SE & CO. KG,
                                                      Miscellaneous Action
                       Movant.
                                                      No. 24-mc-18


                                           ORDER

       AND NOW, this 31st day of May, 2024, it is hereby ORDERED that:

       1.     The application under 28 U.S.C. § 1782 (ECF No. 1) is GRANTED.

       2.     Movant may serve the proposed subpoenas, along with a copy of this Order, on

SKF USA, Inc. within 30 days of the date of this Order.

       3.     This Order is without prejudice to the right of any other party to raise any

appropriate challenge to the subpoenas or the propriety of Movant’s application under § 1782. See

Banca Pueyo SA v. Lone Star Fund IX (US), L.P., 55 F.4th 469, 474-75 (5th Cir. 2022).



                                            BY THE COURT:



                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.




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